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                      THE UNITED STATES DISTRICT COURT
                                    FOR
                     THE NORTHERN DISTRICT OF NEW YORK


DAVID PRICE, as a candidate for the position for Albany County Republican
Committeeman from the 14th Ward 6th District, City of Albany, THE ALBANY
COUNTY REPUBLICAN COMMITTEE, MARTHA MCMAHON AND JAMES
THORNTON, Absentee Voters


       - against -                                   Index No. 06-cv-1083


THE NEW YORK STATE BOARD OF ELECTION, NEIL W. KELLEHER (in his
official capacity as a Commissioners of The New York State Board of Elections),
DOUGLAS A. KELLNER (in his official capacity as a Commissioners of The New York
State Board of Elections), EVELYN J. AQUILA (in her official capacity as a
Commissioners of The New York State Board of Elections), AND HELENA MOSES
DONOHUE (in her official capacity as a Commissioners of The New York State Board of
Elections), Defendants.


                                 NOTICE OF APPEAL
SIR:

PLEASE TAKE NOTICE that all of the plaintiffs in the above captioned action, hereby

appeals to the United States Court of Appeals for the Second Circuit from an denying

plaintiffs summary judgment and granting defendants’ cross-motion to dismiss the action

(Sharpe, J.) entered in this action on October 22, 2007.

Dated: November 19, 2007




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